AO 245B (Rev. 02 /18)   Judgment in a Criminal Case
                        Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                           Middle District of Tennessee

               UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                    V.                                    )

                CHRISTOPHER P. NUNLEY JR.                                           Case Number: 3:19-cr-00014

                                                                                    USM Number: 25719-075

                                                                                     Robert Parris
                                                                                    Defendant's Attorney
THE DEFENDANT:
56 pleaded guilty to count(s)            1, 2 and 4 of the Second Superseding Indictment

❑ pleaded nolo contendere to count(s)
  which was accepted by the court.
❑ was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count

 18 U.S.C. § 1951                    Conspiracy to Commit Hobbs Act Robbery                                  1/7/2018                     1

 18 U.S.C. § 1951                    Attempted Hobbs Act Robbery                                             1/7/2018                     2

 18 U.S.C. § 922(g)(1)               Possession of Ammunition by a Convicted Felon                           1/7/2018                     4

       The defendant is sentenced as provided in pages 2 through                7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
❑ The defendant has been found not guilty on count(s)
91 Count(s)        5 and 6                               ❑ is      66 are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          10/19/2021
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                          Eli Richardson, United States District Judge
                                                                         Name and Title of Judge


                                                                                     0c~—D6e,- 20,2.aZf
                                                                         Date




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AQ 245B (Rev. 02118) Judgment in Criminal Case
                     Sheet 2 — Imprisonment
                                                                                                       Judgment—Page        2   of   7
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                                                             IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  180 months - 180 months on Counts 1 and 2 and 120 months on Count 4, all counts to run concurrent with each other.




      0     The court makes the following recommendations to the Bureau of Prisons:

  Mental Health Treatment
  Vocational Treatment
  Designation as close to Nashville, TN as possible.

      Z     The defendant is remanded to the custody of the United States Marshal.

      ❑     The defendant shall surrender to the United States Marshal for this district:

            ❑   at                                 ❑ a.m.        ❑ p.m.       on

            ❑   as notified by the United States Marshal.

      ❑     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ❑   before 2 p.m. on

            ❑   as notified by the United States Marshal.

            ❑   as notified by the Probation or Pretrial Services Office.




 I have executed this judgment as follows:




            Defendant delivered on                                                          to

 at                                                  , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3 — Supervised Release
                                                                                                    Judgment—Page     3    of        7
DEFENDANT: CHRISTOPHER P. NUNLEY JR.
CASE NUMBER: 3:19-cr-00014
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 3 years - 3 years on each of Counts 1, 2 and 4 to run concurrent with each other.




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ❑ The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.    ❑ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.        You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     ❑ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     ❑ You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3A — Supervised Release
                                                                                               Judgment—Page         4        of
DEFENDANT: CHRISTOPHER P. NUNLEY JR.
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                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date




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 AO 245B(Rev. 02(18) Judgment in a Criminal Case
                     Sheet 31) — Supervised Release
                                                                                              Judgment—Page    5     of         7
DEFENDANT: CHRISTOPHER P. NUNLEY JR.
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                                        SPECIAL CONDITIONS OF SUPERVISION
1.The defendant shall participate in a program of drug testing and substance abuse treatment which may include a 30-day
inpatient treatment program followed by up to 90 days in a community correction center at the direction of the United
States Probation Office. The defendant shall pay all or part of the cost for substance abuse treatment if the United States
Probation Office determines the defendant has the financial ability to do so or have appropriate insurance coverage to pay
for such treatment.

 2. The defendant shall participate in a mental health program as directed by the United States Probation Office. The
 defendant shall pay all or part of the cost of mental health treatment if the United States Probation Office determines the
 defendant has the financial ability to do so or have appropriate insurance coverage to pay for such treatment.

 3.The defendant shall furnish all financial records, including, without limitation, earnings records and tax returns, to the
 United States Probation Office upon request.

 4. The defendant shall not contact victim, Antwan Riley, or his wife, either in person, or by telephone, mail, or a third party;
 and the United States Probation Office will verify compliance.




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AO 245B (Rev. 02118)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                          Judgment — Page      6     of        7
DEFENDANT: CHRISTOPHER P. NUNLEY JR.
CASE NUMBER: 3:19-cr-00014
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                     JVTA Assessment*                    Fine                    Restitution
 TOTALS            $ 300.00                     $                                   $


 ❑    The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 2450) will be entered
      after such determination.

 ❑ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned ayment, unless specifi ed otherwise in
      the priority order or percentage payment column below. However, pursuant to I U.S.C. § 36641~i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                        Total Loss**             Restitution Ordered            Prioritv or Percentage




 TOTALS                                                          0.00           $                        MKS


 ❑     Restitution amount ordered pursuant to plea agreement $

 ❑     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ❑     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       ❑    the interest requirement is waived for the           ❑ fine     ❑ restitution.

       ❑    the interest requirement for the        ❑     fine    ❑     restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 02118) Judgment in a Criminal Case
                     Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page       7      of           7
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ❑    Lump sum payment of $                               due immediately, balance due

           ❑     not later than                                     , or
           ❑     in accordance with ❑ C,           ❑ D,        ❑     E, or      ❑ F below; or

B     Z1 Payment to begin immediately (may be combined with                  ❑ C,         ❑ D, or       ❑ F below); or

C     ❑    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g„ inontlis or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     ❑    Payment in equal                         (e.g., weeldy, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     ❑    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ❑    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



❑     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




❑     The defendant shall pay the cost of prosecution.

❑     The defendant shall pay the following court cost(s):

❑     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.


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